                                        1:18-cv-01121-SEM-TSH # 1                              Page 1 of 9
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                                                                                       Thursday, 22 March, 2018 10:45:47 AM
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                                                                                               Clerk, U.S. District Court, ILCD
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                                                    Plaintiff                            )
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                           ~2         U .S.C. §1983 (S1!l1 ;:g:linst stat c officbls for ccms1iln1ional yiol:'lt!ons)

       D                   28 U.S.C. § 1331 (suit against fcdcr.nl officia ls for constitutional ·Yiola1ions)

       D                   Other
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       P.'ca;,c note: 17iis form has been created for p1isoncrs but can be adapted for use_ by                                        TJO_T!-Prison~;:r;.


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         separate page.

         LTTfGATION TTTSTORY

         A. Ifayc you ln·ougbt any other lawsuits in s1.a1.c or federal comi dealing with the same facts involved

         in this case?                           Yes               D                                 No   rYiJ

         If yes, please describe




         JL Hn,·c you brought any other lawsuits in state or federal court ·while incarcerated?

                                                           Yes                                       No    D

         C. If your answer 10 Il' is yes, how many? _L-'J-_ _ Describe the lawsuit in the space below . . (If there

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         is more than one lawmit, describe 1.hc additional lawsuits on another piece of paper using the tsamc

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             2. Couri (if federal court, give name of district; if state• court, giYc name of county)




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                          5. Disposition (That is, hO\v did the case end. "\Vas the case dismissed? "\Vas it appealed? Tu it
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                For additional              cases, provide the above informrrtion in the same fonnat on a separate page.

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                    A. Is there a grieva r1ce procedure aY.ailable at. your institution?      Yes    rsJ   No o

                    IL II~u· c you filed a grievance concerning the facts 1·clnting to this complaint?      Yes    ~       No o




                    C. Is the grievance process completed?             Yc.s   ri     No D

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